      Case 4:07-cv-05944-JST Document 1857-2 Filed 08/21/13 Page 1 of 2



 1

 2

 3

 4

 5

 6

 7

 8

 9

10
                              UNITED STATES DISTRICT COURT
11
                           NORTHERN DISTRICT OF CALIFORNIA
12
                                  SAN FRANCISCO DIVISION
13
     IN RE: CATHODE RAY TUBE (CRT)              Master File No. CV-07-5944-SC
14   ANTITRUST LITIGATION
                                                MDL No. 1917
15
                                                [PROPOSED] ORDER RE: INDIRECT-
16                                              PURCHASER PLAINTIFFS’
                                                ADMINISTRATIVE MOTION TO SEAL
17                                              DOCUMENTS PURSUANT TO CIVIL
                                                LOCAL RULES 7-11 AND 79-5(d)_______
18

19

20
           GOOD CAUSE APPEARING THEREFOR, Indirect-Purchaser Plaintiffs’ Administrative
21
     Motion to Seal Documents Pursuant to Civil Local Rules 7-11 and 79-5(d) is hereby GRANTED.
22

23   IT IS SO RECOMMENDED.
24

25   Dated: _________________, 2013
                                              Hon. Charles A. Legge
26                                            SPECIAL MASTER

27

28

      [PROPOSED] ORDER RE: INDIRECT-PURCHASER PLAINTIFFS’ ADMINISTRATIVE MOTION TO SEAL
                  DOCUMENTS PURSUANT TO CIVIL LOCAL RULES 7-11 AND 79-5(d) —
                            MASTER FILE NO. CV-07-5944-SC, MDL NO. 1917
      Case 4:07-cv-05944-JST Document 1857-2 Filed 08/21/13 Page 2 of 2



 1   IT IS SO ORDERED UPON THE RECOMMENDATION OF THE SPECIAL MASTER.

 2
     Dated: _________________, 2013
 3                                         Hon. Samuel A. Conti
                                           UNITED STATES DISTRICT JUDGE
 4
     3248694v1
 5

 6

 7

 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28                                           2
      [PROPOSED] ORDER RE: INDIRECT-PURCHASER PLAINTIFFS’ ADMINISTRATIVE MOTION TO SEAL
                  DOCUMENTS PURSUANT TO CIVIL LOCAL RULES 7-11 AND 79-5(d) —
                            MASTER FILE NO. CV-07-5944-SC, MDL NO. 1917
